Case 2:05-CV-O2224-SHI\/|-STA Document 19 Filed 08/24/05 Page 1 of 2 Page|D 22

FILED BV __ D.C.

UNITED s'rATES DIsTRICT CoURT
FoR THE WESTERN DISTRICT 0F TENNESSEE, WESTERN DDBIMGHM PH 3= I5

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UNITED TECHNOLoGIEs coRPoRATloN, W@ if i=“?flfi’*l'l$

Plaintiff,
v. NO. 05-222.4-MaAn

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)
SIXTY-ONE INDUSTRIAL PARK, LTD., )
ELIZABETH FEEZOR LAZAROV AND )
DAVID BENJAMIN LAZAROV, )
)
)

Defendants.

 

ORDER GRANTING MOTION TO AMEND TO ADD
ELIZABETH FEEZOR LAZAROV IN HER CAPACITY AS TRUSTEE OF THE
BENNIE LAZAROV MARITAL TRUST
AND THE BENNIE LAZAROV MARITAL TRUST
AS PARTY DEFENDANTS

 

On motion of Plaintiff and Counter»Defendant, United Technologies Corporation
(“UTC”), pursuant to Rule 15 of the Federal Rules of Civil Procedure, to amend its complaint
solely to add the Bennie Lazarov Trust as a defendant and to name existing defendant, Elizabeth
Feezor Lazarov as a defendant and to incorporate all existing allegations of the complaint against
them; and whereas the Court finds said motion to be well taken and that it should be granted;

IT IS, THEREFORE, ORDRED that the complaint is amended to add Bennie Lazarov
Trust as a defendant and existing defendant, Elizabeth Feezor Lazarov, is also named as a

defendant in her capacity as the trustee of!said trust.

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U.S. MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CV-02224 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

